Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 1 of 69




                     EXHIBIT 11B
    Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 2 of 69




Appendix A to Compensation Framework for
      Coastal Real Property Claims:
  Coastal Real Property Claim Zone Map




                       Appendix A: Coastal Real Property Claim
                                                                              1
                                     Zone Map

                                                                                  025288
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 3 of 69




            Louisiana, Mississippi, Alabama, Florida




                   Appendix A: Coastal Real Property Claim
                                                                          2
                                 Zone Map

                                                                              025289
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 4 of 69


              Hancock County, MS (Entire County)




                   Appendix A: Coastal Real Property Claim
                                                                          3
                                 Zone Map

                                                                              025290
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 5 of 69


           Hancock County, MS (Detailed Portion 1)




                   Appendix A: Coastal Real Property Claim
                                                                          4
                                 Zone Map

                                                                              025291
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 6 of 69


           Hancock County, MS (Detailed Portion 2)




                   Appendix A: Coastal Real Property Claim
                                                                          5
                                 Zone Map

                                                                              025292
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 7 of 69


           Hancock County, MS (Detailed Portion 3)




                   Appendix A: Coastal Real Property Claim
                                                                          6
                                 Zone Map

                                                                              025293
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 8 of 69



              Harrison County, MS (Entire County)




                   Appendix A: Coastal Real Property Claim
                                                                          7
                                 Zone Map

                                                                              025294
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 9 of 69



           Harrison County, MS (Detailed Portion 1)




                   Appendix A: Coastal Real Property Claim
                                                                          8
                                 Zone Map

                                                                              025295
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 10 of 69



            Harrison County, MS (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
                                                                           9
                                  Zone Map

                                                                               025296
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 11 of 69



            Harrison County, MS (Detailed Portion 3)




                    Appendix A: Coastal Real Property Claim
                                                                           10
                                  Zone Map

                                                                                025297
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 12 of 69



            Harrison County, MS (Detailed Portion 4)




                    Appendix A: Coastal Real Property Claim
                                                                           11
                                  Zone Map

                                                                                025298
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 13 of 69



            Harrison County, MS (Detailed Portion 5)




                    Appendix A: Coastal Real Property Claim
                                                                           12
                                  Zone Map

                                                                                025299
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 14 of 69



               Jackson County, MS (Entire County)




                    Appendix A: Coastal Real Property Claim
                                                                           13
                                  Zone Map

                                                                                025300
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 15 of 69



            Jackson County, MS (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
                                                                           14
                                  Zone Map

                                                                                025301
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 16 of 69



            Jackson County, MS (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
                                                                           15
                                  Zone Map

                                                                                025302
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 17 of 69



            Jackson County, MS (Detailed Portion 3)




                    Appendix A: Coastal Real Property Claim
                                                                           16
                                  Zone Map

                                                                                025303
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 18 of 69



            Jackson County, MS (Detailed Portion 4)




                    Appendix A: Coastal Real Property Claim
                                                                           17
                                  Zone Map

                                                                                025304
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 19 of 69



                Mobile County, AL (Entire County)




                    Appendix A: Coastal Real Property Claim
                                                                           18
                                  Zone Map

                                                                                025305
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 20 of 69



             Mobile County, AL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
                                                                           19
                                  Zone Map

                                                                                025306
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 21 of 69



             Mobile County, AL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
                                                                           20
                                  Zone Map

                                                                                025307
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 22 of 69



             Mobile County, AL (Detailed Portion 3)




                    Appendix A: Coastal Real Property Claim
                                                                           21
                                  Zone Map

                                                                                025308
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 23 of 69



             Mobile County, AL (Detailed Portion 4)




                    Appendix A: Coastal Real Property Claim
                                                                           22
                                  Zone Map

                                                                                025309
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 24 of 69



               Baldwin County, AL (Entire County)




                    Appendix A: Coastal Real Property Claim
                                                                           23
                                  Zone Map

                                                                                025310
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 25 of 69



             Baldwin County, AL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
                                                                           24
                                  Zone Map

                                                                                025311
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 26 of 69



             Baldwin County, AL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
                                                                           25
                                  Zone Map

                                                                                025312
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 27 of 69




               Escambia County, FL (Entire County)




                    Appendix A: Coastal Real Property Claim
                                                                           26
                                  Zone Map

                                                                                025313
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 28 of 69




            Escambia County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
                                                                           27
                                  Zone Map

                                                                                025314
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 29 of 69




            Escambia County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
                                                                           28
                                  Zone Map

                                                                                025315
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 30 of 69



              Santa Rosa County, FL (Entire County)




                    Appendix A: Coastal Real Property Claim
                                                                           29
                                  Zone Map

                                                                                025316
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 31 of 69



           Santa Rosa County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
                                                                           30
                                  Zone Map

                                                                                025317
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 32 of 69



           Santa Rosa County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
                                                                           31
                                  Zone Map

                                                                                025318
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 33 of 69



               Okaloosa County, FL (Entire County)




                    Appendix A: Coastal Real Property Claim
                                                                           32
                                  Zone Map

                                                                                025319
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 34 of 69



            Okaloosa County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
                                                                           33
                                  Zone Map

                                                                                025320
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 35 of 69



            Okaloosa County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
                                                                           34
                                  Zone Map

                                                                                025321
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 36 of 69



                Walton County, FL (Entire County)




                    Appendix A: Coastal Real Property Claim
                                                                           35
                                  Zone Map

                                                                                025322
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 37 of 69



             Walton County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
                                                                           36
                                  Zone Map

                                                                                025323
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 38 of 69



             Walton County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
                                                                           37
                                  Zone Map

                                                                                025324
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 39 of 69



             Walton County, FL (Detailed Portion 3)




                    Appendix A: Coastal Real Property Claim
                                                                           38
                                  Zone Map

                                                                                025325
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 40 of 69



             Walton County, FL (Detailed Portion 4)




                    Appendix A: Coastal Real Property Claim
                                                                           39
                                  Zone Map

                                                                                025326
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 41 of 69



             Walton County, FL (Detailed Portion 5)




                    Appendix A: Coastal Real Property Claim
                                                                           40
                                  Zone Map

                                                                                025327
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 42 of 69



                  Bay County, FL (Entire County)




                    Appendix A: Coastal Real Property Claim
                                                                           41
                                  Zone Map

                                                                                025328
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 43 of 69



               Bay County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
                                                                           42
                                  Zone Map

                                                                                025329
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 44 of 69



               Bay County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
                                                                           43
                                  Zone Map

                                                                                025330
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 45 of 69



               Bay County, FL (Detailed Portion 3)




                    Appendix A: Coastal Real Property Claim
                                                                           44
                                  Zone Map

                                                                                025331
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 46 of 69



               Bay County, FL (Detailed Portion 4)




                    Appendix A: Coastal Real Property Claim
                                                                           45
                                  Zone Map

                                                                                025332
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 47 of 69



               Bay County, FL (Detailed Portion 5)




                    Appendix A: Coastal Real Property Claim
                                                                           46
                                  Zone Map

                                                                                025333
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 48 of 69



               Bay County, FL (Detailed Portion 6)




                    Appendix A: Coastal Real Property Claim
                                                                           47
                                  Zone Map

                                                                                025334
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 49 of 69



                  Gulf County, FL (Entire County)




                    Appendix A: Coastal Real Property Claim
                                                                           48
                                  Zone Map

                                                                                025335
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 50 of 69



               Gulf County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
                                                                           49
                                  Zone Map

                                                                                025336
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 51 of 69



               Gulf County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
                                                                           50
                                  Zone Map

                                                                                025337
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 52 of 69



               Gulf County, FL (Detailed Portion 3)




                    Appendix A: Coastal Real Property Claim
                                                                           51
                                  Zone Map

                                                                                025338
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 53 of 69



               Gulf County, FL (Detailed Portion 4)




                    Appendix A: Coastal Real Property Claim
                                                                           52
                                  Zone Map

                                                                                025339
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 54 of 69



               Franklin County, FL (Entire County)




                    Appendix A: Coastal Real Property Claim
                                                                           53
                                  Zone Map

                                                                                025340
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 55 of 69



             Franklin County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
                                                                           54
                                  Zone Map

                                                                                025341
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 56 of 69



             Franklin County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
                                                                           55
                                  Zone Map

                                                                                025342
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 57 of 69



             Franklin County, FL (Detailed Portion 3)




                    Appendix A: Coastal Real Property Claim
                                                                           56
                                  Zone Map

                                                                                025343
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 58 of 69



             Franklin County, FL (Detailed Portion 4)




                    Appendix A: Coastal Real Property Claim
                                                                           57
                                  Zone Map

                                                                                025344
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 59 of 69



             Franklin County, FL (Detailed Portion 5)




                    Appendix A: Coastal Real Property Claim
                                                                           58
                                  Zone Map

                                                                                025345
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 60 of 69



             Franklin County, FL (Detailed Portion 6)




                    Appendix A: Coastal Real Property Claim
                                                                           59
                                  Zone Map

                                                                                025346
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 61 of 69



             Franklin County, FL (Detailed Portion 7)




                    Appendix A: Coastal Real Property Claim
                                                                           60
                                  Zone Map

                                                                                025347
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 62 of 69



             Franklin County, FL (Detailed Portion 8)




                    Appendix A: Coastal Real Property Claim
                                                                           61
                                  Zone Map

                                                                                025348
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 63 of 69



             Franklin County, FL (Detailed Portion 9)




                    Appendix A: Coastal Real Property Claim
                                                                           62
                                  Zone Map

                                                                                025349
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 64 of 69



            Franklin County, FL (Detailed Portion 10)




                    Appendix A: Coastal Real Property Claim
                                                                           63
                                  Zone Map

                                                                                025350
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 65 of 69



            Franklin County, FL (Detailed Portion 11)




                    Appendix A: Coastal Real Property Claim
                                                                           64
                                  Zone Map

                                                                                025351
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 66 of 69



               Wakulla County, FL (Entire County)




                    Appendix A: Coastal Real Property Claim
                                                                           65
                                  Zone Map

                                                                                025352
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 67 of 69



             Wakulla County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
                                                                           66
                                  Zone Map

                                                                                025353
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 68 of 69



             Wakulla County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
                                                                           67
                                  Zone Map

                                                                                025354
Case 2:10-md-02179-CJB-DPC Document 6430-24 Filed 05/03/12 Page 69 of 69



                   Grand Isle, LA (Entire Island)




                    Appendix A: Coastal Real Property Claim
                                                                           68
                                  Zone Map

                                                                                025355
